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              IN THE UNITED STATES COURT OF APPEALS
                         ELEVENTH CIRCUIT

                    USCA Case No. 23-12408 & 23-12411
             United States District Court, Middle District of Florida
                            Case No.: 8:23-CV-181


                              BLAKE WARNER

                                   Appellant
                                        v.
        THE SCHOOL BOARD OF HILLSBOROUGH COUNTY, FLORIDA

                              Defendant/Appellee.



                      ANSWER BRIEF OF APPELLEE




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      CERTIFICATE OF INTERESTED PERSONS AND CORPORATE
     DISCLOSURE PURSUANT TO FRAP 26.1 AND 11TH CIR. R. 26.1-1

         Pursuant to F.R.A.P. 26.1 and 11th Cir. R. 26.1-1, Appellee, The School

Board of Hillsborough County, Florida by and through its undersigned counsel,

hereby discloses the following trial judges, attorneys, persons, associations of

persons, firms, partnerships, or corporations that have an interest in the outcome of

the appeal, including subsidiaries, conglomerates, affiliates, and parent corporations,

including any publicly held corporation that owns 10% or more of the party's stock:

    1.       Akerman LLP (Attorneys for Appellee)

    2.       Baker Botts L.L.P. (Attorneys for Appellant)

    3.       Erickson, Matthew P. (Attorney for Appellant)

    4.       Fiore, Kristen M. (Attorney for Appellee)

    5.       First Liberty Institute (Attorneys for Appellant)

    6.       Flynn, Sean P., U.S. Magistrate Judge (M.D. Fla.)

    7.       Hacker, David (Attorney for Appellant)

    8.       Hilderbrand, Matthew M. (Attorney for Appellant)

    9.       Margolin, Jason L. (Attorney for Appellee)

    10. Merryday, Steven D., U.S. Dist. Judge (M.D. Fla.)

    11. Moran, Gregg (Attorney for Appellee)

    12. Robinson, Benjamin (Attorney for Appellee)


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    13. Sneed, Julie, U.S. Magistrate Judge (M.D. Fla.)

    14. Streett, Aaron M. (Attorney for Appellant)

    15. The School Board of Hillsborough County, Florida (Appellee)

    16. Warner, Blake (Appellant)




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                STATEMENT REGARDING ORAL ARGUMENT

         This case does not warrant oral argument. The district court correctly applied

this Court’s precedent to a straightforward legal issue. Moreover, Appellee, the

School Board of Hillsborough County, Florida, takes no position on whether the

precedent is incorrect.




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                           STATEMENT OF THE CASE1

         The Board agrees generally with the procedural history of the underlying

cases set forth in Warner’s Statement of the Case. See [IB 2-6]. However, the Board

disputes Warner’s assertion that the Board engaged in any “unlawful conduct.”

[IB 3] That is a mere allegation unsupported and unproven by either fact or law.

                                    ARGUMENT

         Curiously, through seven attorneys, Warner maintains the district court erred

in sua sponte denying Warner pro se status to raise claims against the Board on

behalf of his minor child, and in correspondingly dismissing his minor child’s claims

for lack of counsel. Without waiving any arguments that multiple grounds justify the

dismissal of Warner and his minor child’s claims against the Board2, the Board

maintains the district court correctly applied this Court’s precedent. Accordingly,

pursuant to this Court’s precedent, this Court should affirm the district court’s order.




1
 This brief cites to the District Court docket entries by page number (i.e., [Doc. 1 at
1]) and Warner’s Initial Brief by page number (i.e., [IB 1]). This brief refers to
Appellant Blake Warner as “Warner” and Appellee the School Board of
Hillsborough County, Florida as “the Board.”
2
  The Board’s motion to dismiss Warner’s second amended complaint remains
pending in the 181 case. See [Docs. 45, 66 (181 Case)]. The Board does not discuss
the claims in that motion because they are not of record in this appeal.

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         Beyond that, the Board takes no position on Warner’s assertion that the

precedent is wrong—the sole issue Warner raises in this appeal—which the Board

agrees is a purely legal issue subject to the Court’s de novo review. See [IB 10].

                                  CONCLUSION

         WHEREFORE, the Board requests that this Court affirm the district court’s

dismissal of Warner’s pro se claims on behalf of his minor child.


Respectfully submitted,

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                        CERTIFICATE OF COMPLIANCE

         I certify that this brief complies with the type-volume limitation set forth in

FRAP 32(a)(7)(B). This brief contains 341 words, excluding the parts of the brief

exempted by FRAP 32(a)(7)(B)(iii). This brief complies with the typeface

requirements of FRAP 32(a)(5) and the type-style requirements of FRAP 32(a)(6).

It has been prepared in a proportionally spaced typeface using Microsoft Word in 14

point Times New Roman font.

                                                /s/ Kristen M. Fiore
                                                KRISTEN M. FIORE, B.C.S.


                            CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on January 25th, 2024, I electronically filed the

foregoing document with the Clerk of the Court by using the CM/ECF system, which

will automatically send a copy to all counsel of record in this case registered on the

CM/ECF system.

                                                /s/ Kristen M. Fiore
                                                KRISTEN M. FIORE, B.C.S.




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